  Case 19-43103        Doc 12    Filed 12/03/19 Entered 12/03/19 16:33:36        Desc Main
                                   Document     Page 1 of 2


William J. Collins
State Bar Number 24065067
Collins & Arnove
555 Republic Drive, Suite 200
Plano, TX 75074
Phone: 972-516-4255 Fax: 972-516-4256


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


IN RE:                                    §
                                          §
TROY G SMITH                              §
                                          §        CASE NO. 19-43103
                                          §
                                          §        CHAPTER 7
                                          §
                               DEBTOR     §


                               MOTION TO SELL REAL PROPERTY


                         21-DAY NEGATIVE NOTICE – LBR 9007(a):

Your rights may be affected by the relief sought in this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy
case. If you oppose the relief sought by this pleading, you must file a written objection,
explaining the factual and/or legal basis for opposing the relief.

No hearing will be conducted on this Motion/Objection/Application unless a written
objection is filed with the Clerk of the United States Bankruptcy Court and served upon
the party filing this pleading WITHIN TWENTYONE (21) DAYS FROM THE DATE OF
SERVICE shown in the certificate of service unless the Court shortens or extends the time
for filing such objection. If no objection is timely served and filed, this pleading shall be
deemed to be unopposed, and the Court may enter an order granting the relief sought. If
an objection is filed and served in a timely manner, the Court will thereafter set a hearing
with appropriate notice. If you fail to appear at the hearing, your objection may be
stricken. The Court reserves the right to set a hearing on any matter.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

NOW COMES TROY G SMITH, a Chapter 7 Debtor in the above styled and numbered case and would

respectfully show the Court:
Case 19-43103       Doc 12      Filed 12/03/19 Entered 12/03/19 16:33:36                Desc Main
                                  Document     Page 2 of 2


 1. The Court has jurisdiction to hear and determine this Motion to Sell Real Property pursuant to the
    provisions of 28 U.S.C. §1334 and 28 U.S.C. § 157. This is a core proceeding pursuant to the
    provisions of 11 U.S.C. §363.

 2. Debtor has decided to sell certain real property located at 5816 Creek Crossing Lane, Sachse, TX
    75048 (“property”).

 3. Subject property is currently the Debtor’s homestead and he has lived there since purchasing the
    property in 2009 (See Exhibit 1)

 4. The proposed buyer has contracted to purchase subject property for $504,000. (See Exhibit 2)


 5. The known mortgage lien-holders and approximate balances owed are (See Exhibit 2):

     US Bank Home Mortgage: $340,000

 6. Property taxes due to Dallas County and Garland ISD for 2019 are a part of the closing cost with
    the taxes due for 2019 to be paid in full at closing. (See Exhibit 2)

 7. Total closing cost including property tax, commissions, and closing cost are $44,358. (See
    Exhibit 2).

 8. After mortgage balances and closing cost the Debtor is expected to clear $117,333. (See Exhibit
    2)

 9. Debtor has chosen the Texas Exemptions and has declared their homestead exempt pursuant
    Texas Const. art. XVI, §§50, 51, Tex Prop. Code §§41.001-.002.

 10. Debtor requests that any order approving this Motion exclude the fourteen day stay provided in
     Rule 6004(h) of the Federal Rules of Bankruptcy Procedure so that Debtors do not risk losing out
     on the sale of the property.


             WHEREFORE, PREMISES CONSIDERED, the Debtor prays the Court enter an order
     allowing them to sell the subject property pursuant to the terms of the attached Closing
     Disclosure and to retain the proceeds from such sale after payment of liens, and closing costs, and
     for any other relief that is just.


                                                                               Respectfully Submitted,

                                                                                s/ William J. Collins
                                                                                   William J Collins
                                                                                   Collins & Arnove
                                                                          555 Republic Dr., Suite 200
                                                                                   Plano, TX 75074
                                                                               Phone: 972-516-4255
                                                                               Fax: 972-516-4256
                                                                        ATTORNEY FOR DEBTORS
